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             EXHIBIT B
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             EXHIBIT C
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                                                                                            FILED
                                                                                       Gary Harrison
                                                                                   CLERK, SUPERIOR COURT
                                                                                       9/12/2022 1:47:03 PM
                                                                                    BY: JAMES R. ORR /S/
 1   BREWERWOOD, P.L.L.C.                                                                  DEPUTY
     2398 East Camelback Road, Suite 540                                          Case No. C20223728
 2   Phoenix, Arizona 85016                                                        HON. CASEY F MCGINLEY
     (602) 254-9813; Fax: (602) 254-5511 Facsimile
 3
     John B. Brewer, #018207, John@brewerwood.com
 4   Dane L. Wood, #016098, Dane@brewerwood.com
     Attorneys for Plaintiffs
 5
 6                  IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
 7
                                    IN AND FOR THE COUNTY OF PIMA
 8
      NICHOLAS LAGUNA, an unmarried man,
 9
                                                           Case No.:
10                        Plaintiff,
11                             v.                                      COMPLAINT
12
      HARBOR FREIGHT TOOLS USA, INC., a                             (Tort—Non-Motor Vehicle;
13    Delaware corporation; YUMING                         Strict Product Liability; Negligence; Express
14    INTERNATIONAL, LTD., a Chinese                               Warranty; Implied Warranty)
      corporation; DOES I through X; ABC
15    PARTNERSHIPS I through X, and; BLACK                                  (TIER 3)
16    CORPORATIONS I through X,

17                        Defendants.
18
            Plaintiff, by and through his respective undersigned counsel and for his claims against
19
20   Defendants, allege as follows:

21                                                SECTION 1
22                                     (Parties, Jurisdiction, and Venue)

23          1.     Plaintiff NICHOLAS LAGUNA, an unmarried man, is a resident of the State of
24
     Arizona in Pima County.
25
26
            2.     Defendant HARBOR FREIGHT TOOLS USA, INC. (hereinafter “HARBOR

27   FREIGHT”) is a corporation formed and organized under the laws of the State of Delaware with
28
     its principal place of business in the State of California.


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 1
            3.     Defendant HARBOR FREIGHT is a privately owned company that owns and

 2   operates a chain of more than 1,300 retail stores located throughout the United States and Arizona
 3
     called “Harbor Freight Tools.” Its retail stores are stocked with shelves that showcase a wide
 4
     variety of hand tools, power tools, equipment, supplies, and the like that are offered for sale
 5
 6   directly to consumers. Said Defendant also sells its products via e-commerce and a mail-order
 7
     catalog.
 8
            4.     Defendant YUMING INTERNATIONAL, LTD. (hereinafter “YUMING”) is a
 9
10   foreign corporation formed and organized under the laws of the Country of China whose
11   headquarters are located at 4F, Noble Center, No. 1006, 3rd Fuzhong Road, Futian District,
12
     Shenzen, Guangdong, China.
13
14          5.     Defendants DOES I through X, ABC PARTNERSHIPS I through X, and BLACK
15   CORPORATIONS I through X, inclusive, are individuals, corporations, partnerships and/or
16
     business entities which caused the events complained of to occur in the State of Arizona. Plaintiff
17
18   does not know the true identities of these Defendants and, therefore, sues them by fictitious

19   names. Plaintiff will amend this Complaint when the names of these Defendants become known.
20
            6.     At all times mentioned herein, Defendants, and each of them, were the agents,
21
22   servants, joint venturers and/or employees of the remaining co-defendants, and each was at all

23   times acting within the course and scope of said agency, service, joint venture and/or employment.
24
     All Defendants were either joint tortfeasors with above Defendants and/or are concurrently and/or
25
     jointly and severally liable for the acts and omissions herein described, and/or are otherwise
26
27   secondarily liable for said acts and omissions.
28


                                                       2
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 1
           7.     The careless, reckless, negligent acts, omissions, misfeasance and nonfeasance

 2   carried out by each and every employee and/or agent of each and every corporation or business of
 3
     Defendants were authorized, ordered and directed by the respective Defendant's corporate or
 4
     business employees, officers, directors and/or managing agents. Each Defendant's employees,
 5
 6   officers, directors and/or managing agents had advance knowledge of, authorized and/or
 7
     participated in the herein described acts, conduct, misfeasance and nonfeasance of their
 8
     employees, agents and each of them. In addition thereto, upon completion of the aforesaid acts,
 9
10   conduct, misfeasance and nonfeasance of the employees and agents, Defendants ratified, accepted
11   the benefits of, condoned and/or approved of each and all of the said acts, conduct or nonfeasance.
12
     Furthermore, at all times herein relevant, each Defendant was a principal, master, employer and
13
14   joint venturer of each and every other Defendant and was acting within the course and scope of
15   said agency, authority, employment and/or joint venture.
16
           8.     Defendants, and each of them, caused the events complained of herein to occur in
17
18   the County of Pima, State of Arizona. Defendants, and each of them, have purposefully directed

19   their activities to the State of Arizona. Furthermore, Defendants, and each of them, are duly
20
     authorized to do business in the State of Arizona and have conducted business throughout the
21
22   State of Arizona on a systematic and continuous basis. Venue is proper in Pima County because

23   the events described herein all occurred in Pima County and Coconino County.
24
           9.     Defendants, and each of them, have substantial contacts with the State of Arizona
25
     such that maintenance of a lawsuit is reasonable and does not offend traditional notions of fair
26
27   play and substantial justice. Defendants have purposefully availed themselves of conducting
28


                                                     3
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 1
     activities in the State of Arizona. Defendants have fostered numerous relationships in Arizona so

 2   that Arizona residents will continue to buy their products.
 3
               10.   There is no inherent unfairness in having Defendants litigate in the State of Arizona.
 4
     Defendant HARBOR FREIGHT has, for many years, done substantial business throughout the
 5
 6   State of Arizona. And, upon information and belief, Defendant YUMING has done substantial
 7
     business in the State of Arizona. Defendants can reasonably be expected to be haled into Arizona
 8
     courts.
 9
10             11.   Defendants, and each of them, have done business in Arizona with the deliberate
11   and specific intent to penetrate the Arizona market and obtain the sale and distribution of product
12
     into every American state, including into Arizona.
13
14             12.   There has been a regular and systematic flow of Defendants’ products into the State
15   of Arizona.
16
               13.   There was a regular, deliberate, and systematic course of sales of Defendants’
17
18   products into the State of Arizona.

19             14.   Upon information and belief, Defendants utilize express agents, apparent agents,
20
     and/or ostensible agents on behalf of their behalf throughout the United States and State of
21
22   Arizona.

23             15.   The selling and distribution arrangements between Defendants and their sellers,
24
     brokers, and dealerships for sales in Arizona were not an isolated transaction but were part of an
25
     ongoing, systematic, intentional, and substantial business relationship.
26
27
28


                                                       4
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 1
              16.   The products manufactured and sold by Defendants reached Arizona systematically

 2   and deliberately, not fortuitously, as part of an intentional, systematic, continuing stream of
 3
     commerce carefully designed and directed for use in Arizona.
 4
              17.   Defendants clearly intended to serve the market with their products throughout
 5
 6   America, including in Arizona.
 7
              18.   The distribution and sale of the product at issue in this lawsuit was not simply an
 8
     isolated occurrence, but arose from the intentional and deliberate efforts of Defendants and its
 9
10   sellers, brokers, and dealerships to serve, directly or indirectly, the market for its product in
11   Arizona.
12
              19.   The damages sought in this products liability action exceed $300,000.00, qualifying
13
14   this action for assignment of “Tier 3” procedures as specified by Rule 26.2(c)(3)(C), Arizona
15   Rules of Civil Procedure, including amounts sought, if applicable, for punitive damages, interest,
16
     attorneys’ fees and costs.
17
18            20.   The amount in controversary exceeds the minimum jurisdictional limits of this

19   Court.
20
              21.   Plaintiff hereby demands a trial by jury of all issues pursuant to Rule 38, Arizona
21
22   Rules of Civil Procedure.

23                                              SECTION 2
24                                     (Facts Common To All Counts)

25            22.   Plaintiff re-alleges and incorporates by reference all prior and subsequent
26
     allegations as though fully set forth in this pleading.
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 1
            23.    On September 14, 2020 at or near 4:00 p.m. (MST), Plaintiff NICHOLAS

 2   LAGUNA was seriously and permanently injured while using a brand new “Haul-Master” step
 3
     stool he purchased the day before at a Harbor Freight Tools retail store in Tucson, Arizona. As
 4
     Plaintiff stepped onto the step stool, it unexpectedly broke and collapsed due to a failed rivet that
 5
 6   caused a leg support brace to detach. Prior to the accident, Plaintiff had placed the step stool in a
 7
     secure, stable position as a means to step up onto and down from his enclosed utility trailer while
 8
     he was camping in the wilderness in Coconino County. The step stool was placed beside the door
 9
10   of his trailer upon a rubber mat that was set on level ground. As Plaintiff was stepping down
11   approximately six (6) inches from his trailer onto the step stool, the step stool unexpectedly failed
12
     and collapsed causing him to fall rearward and strike his head against the trailer in a violent
13
14   manner resulting in loss of consciousness and serious injuries to his head and body. At all times,
15   Plaintiff was using the step stool in a foreseeable manner. At all times, Plaintiff was exercising
16
     reasonable care and caution for his own safety. (The events of this paragraph will be identified
17
18   throughout this Complaint as the “Subject Accident.”)

19          24.    The step stool involved in the Subject Accident was purchased by Plaintiff on
20
     September 13, 2020 at the Harbor Freight Tools retail store located at 5570 E. 22nd Street, Tucson,
21
22   Arizona 85711, situated in Pima County. The listed price of the step stool was $23.99 (plus tax),

23   but Plaintiff also presented a 20% discount coupon saving him $6.00. According to the original
24
     retail box/packaging, the step stool Plaintiff purchased, which was involved in the Subject
25
     Accident, was a “Haul-Master” brand “Step Stool Working Platform” (Item # 62515), as
26
27   displayed on its original packaging box depicted in Figure 1 below. (Throughout this Complaint,
28
     the step stool involved in the Subject Accident will be referred to as the “Subject Step Stool.”)


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14
           25.       The Subject Step Stool is an anodized aluminum assembly with a stated capacity of
15
     350 pounds. Plaintiff weighed approximately 200 pounds, which was well within the step stool’s
16
17   rated weight capacity.
18
           26.       According to an on-product placard, the Subject Step Stool was manufactured in
19
     July of 2020.
20
21         27.       The general construction of the Subject Step Stool consists of three aluminum 3-1/2
22
     inch x 1-3/4 inch (.032 thick) C-channel sections pop-riveted to preformed .032 thick aluminum
23
     channels at each end. The four legs are 1-¾ inch x 1 inch aluminum C-channels mounted to the
24
25   main frame via steel hinges and secured in the extended position by two locking mechanisms.
26   The leg frame structure on each end consists of two aluminum C-Channel legs fastened at the top
27
     to a trapezoidal aluminum tube and steel hinge mechanisms. A plastic cap is riveted to the free
28


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 1
     end of each leg. The legs are further supported by a steel brace extending diagonally from the

 2   trapezoidal support tube to the leg. The steel leg braces are secured to the trapezoidal tube and to
 3
     each leg with aluminum pop rivets. The stated dimensions of the Subject Step Stool in the
 4
     unfolded condition are 26 ½ inches (length) by 13 ½ inches (width) by 13 5/16 inches (height)
 5
 6   with a working platform area of 18 inches (length) by 11 7/8 inches (width).
 7
            28.    According to the original box/packaging, the Subject Step Stool was “Distributed by
 8
     Harbor Freight Tools, Camarillo, CA” and was “Made in China.”
 9
10          29.    Among its many products and product lines, Defendant HARBOR FREIGHT
11   advertises and sells a variety of tools and products under the in-house brand name known as
12
     “Haul-Master.” The Subject Step Stool is branded and labeled as a “Haul-Master.” The “Haul-
13
14   Master” brand is registered as a trademark with the United States Patent and Trademark Office,
15   registration No. 3982428. Defendant HARBOR FREIGHT is the registered owner of the “Haul-
16
     Master” trademark.      The “Haul-Master” brand name is exclusive to Defendant HARBOR
17
18   FREIGHT sold only in its retail stores, its catalog, and its website.

19          30.    Upon information and belief, products along with their packaging that are marked
20
     and labeled with the “Haul-Master” name and logo are sourced by Defendant HARBOR
21
22   FREIGHT from outside manufacturers according to HARBOR FREIGHT’s specifications and

23   then tested by HARBOR FREIGHT. Upon further information and belief, Defendant HARBOR
24
     FREIGHT solely chooses and selects the type of products it desires to contain the “Haul-Master”
25
     brand and then said Defendant locates, and seeks bids from manufacturers that are in the business
26
27   of manufacturing the particular product desired by Defendant.            Thus, for example as a
28
     hypothetical, a wheel barrow that contains the “Haul-Master” brand might be manufactured by a


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 1
     different manufacturer than a ladder that also contains the “Haul-Master” brand. Regardless of

 2   the product, Plaintiffs are informed and believe that Defendant HARBOR FREIGHT dictates the
 3
     specifications for all products containing the “Haul-Master” brand, including the dimensions,
 4
     design, materials, weight, size, colors, performance, and labeling. Notwithstanding, Defendant
 5
 6   has the final authority to review and test the finished product, and dictates changes, for all
 7
     products containing the “Haul-Master” brand.
 8
            31.      Plaintiff is informed and believes that Defendant HARBOR FREIGHT, and only
 9
10   said Defendant, desired to have a step stool/working platform included in its “Haul-Master” brand
11   product line.     Thereafter, Defendant HARBOR FREIGHT sought price bids from outside
12
     manufacturers in China and other countries with cheap labor forces and substandard, slipshod
13
14   manufacturing practices to manufacture a cheaply made step stool/working platform that
15   HARBOR FREIGHT could sell in high volumes with a high profit margin. Once Defendant
16
     HARBOR FREIGHT selected a manufacturer in China with the lowest bid who would build a
17
18   cheaply made step stool/working platform that met HARBOR FREIGHT’s specifications and

19   price demands, Defendant HARBOR FREIGHT entered into a contract with said manufacturer to
20
     manufacture the step stool/work platforms in a high volume to maximize the lowest possible price
21
22   per unit.

23          32.      The Subject Step Stool was manufactured by Defendant YUMING to the
24
     specifications, demands, review process, and testing of Defendant HARBOR FREIGHT.
25
     Defendant HARBOR FREIGHT entered into a contractual relationship with Defendant YUMING
26
27   to manufacture the Subject Step Stool for the financial benefit of Defendant HARBOR FREIGHT
28


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 1
     to market and sell the product, at maximum profit, in Arizona and throughout the nation in over

 2   1,300 retail outlets, mail-order catalog, and online.
 3
            33.    Upon information and belief, the Subject Step Stool model has been discontinued by
 4
     Defendant HARBOR FREIGHT.
 5
 6          34.    Upon information and belief, prior to the Subject Accident, Defendants were well
 7
     aware that it was reasonably foreseeable, and further, Defendants had actual knowledge from
 8
     other lawsuits, claims, and consumer reviews and feedback, that the Subject Step Stool model was
 9
10   used by consumers as a step up onto and step down from trailers, recreational trailers, and
11   vehicles in fields, dirt lots, campgrounds, wilderness, construction sites, and other surfaces.
12
     Moreover, the same step stool model is sold by HARBOR FREIGHT’S affiliated company,
13
14   Central Purchasing, LLC., through online retailers such as Amazon, Sears, and others. One public
15   review on Amazon in May of 2015 states: “Height is right for application as a step into our RV or
16
     for sitting while working in garden.” Another public review on Amazon in February of 2016
17
18   states: “We got it for work in the yard and around the house.” Another public review on Amazon

19   in April of 2014 states: “I purchased this to use as both a step stool and a garden seat. My yard is
20
     landscaped with rocks and I garden in containers. I was having trouble finding a stool that was
21
22   both stable to sit on and high enough to comfortably work in my garden.”

23          35.    As a result of the Subject Accident, caused by the fault of Defendants, and each of
24
     them, as described below, Plaintiff NICHOLAS LAGUNA sustained serious and permanent
25
     physical injuries requiring hospitalization and treatment, emotional injuries, pain and suffering
26
27   that is ongoing, and loss of past and future income.
28


                                                      10
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 1                                             SECTION 3
                                    Count One – Strict Product Liability
 2                                          (All Defendants)
 3
            36.    Plaintiff re-alleges and incorporates by reference all prior and subsequent
 4
     allegations as though fully set forth in this pleading.
 5
 6          37.    The Subject Step Stool was in a defective condition unreasonably dangerous to
 7
     users directly and proximately causing the injuries and damages sustained by Plaintiff.
 8
            38.    The Subject Step Stool was developed, designed, configured, engineered, fabricated,
 9
10   assembled, built, manufactured, produced, labeled, tested, marketed, promoted, advertised,
11   imported, distributed, delivered, and sold by Defendants, and each of them.
12
            39.    As a result of the acts of Defendants, and each of them, the Subject Step Stool was
13
14   in a defective condition unreasonably dangerous to foreseeable users under foreseeable
15   conditions. A direct and proximate cause of the Plaintiff’s injuries was the Subject Step Stool’s
16
     unsafe, defective, and unreasonably dangerous flaws in design, manufacturing, and warning that
17
18   violated the expectations of a reasonable consumer and violated industry standards.

19          40.    The Subject Step Stool was in a defective condition unreasonably dangerous to
20
     consumers in that during ordinary usage under foreseeable conditions, the product had the
21
22   propensity to fail due to substandard rivet installation practices, substandard manufacturing

23   processes, substandard quality control, substandard inspection/testing practices, and poor design,
24
     all of which were unknown to the average consumer, including Plaintiff.
25
            41.    In addition, the Subject Step Stool was defective and unreasonably dangerous
26
27   because it failed to contain, among other things, reasonable fail-safe devices and meaningful
28
     instructions and warnings.


                                                      11
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 1
            42.    The defective and unreasonably dangerous conditions existed due to faulty, flawed,

 2   and unsafe design, inferior and inadequate materials and parts, slipshod workmanship and
 3
     manufacturing processes, departure from intended design, a design that was below the state-of-
 4
     the-art, lack of warnings, lack of instruction to users, and lack of fail-safe devices and
 5
 6   mechanisms.
 7
            43.    Defendants defectively designed, configured, engineered, fabricated, assembled,
 8
     built, manufactured, produced, labeled, tested, marketed, promoted, advertised, imported,
 9
10   distributed, delivered, and sold the Subject Step Stool, thereby placing it in the stream of
11   commerce in a defective, unsafe, and unreasonably dangerous condition.
12
            44.    The defects in the Subject Step Stool were beyond the contemplation and
13
14   expectations of a reasonable person. The defective and unreasonably dangerous conditions were
15   not observable by Plaintiff who, lacking the technical knowledge and skill required to disassemble
16
     and examine the product and/or understand its engineering and design, relied upon the duty of
17
18   Defendants, and each of them, to produce a safe and sturdy product. Furthermore, the dangers far

19   outweighed the purported utility in the design of the product.
20
            45.    Defendants, and each of them, failed to design, configure, engineer, fabricate,
21
22   assemble, build, manufacture, produce, label, test, market, promote, advertise, import, distribute,

23   deliver, and sell the Subject Step Stool in a reasonably safe condition which conformed to and
24
     was in compliance with industry and other safety standards.
25
            46.    Prior to the failure of the Subject Step Stool, Plaintiff was totally unaware that this
26
27   product was in a defective condition unreasonably dangerous to consumers. Defendants, and each
28
     of them, failed to warn Plaintiff about the foreseeable dangers associated with this product.


                                                     12
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 1
           47.    Due to the Subject Step Stool’s defective and unreasonably dangerous design,

 2   manufacture, and lack of warning, the product was extremely dangerous to Plaintiff, who was
 3
     totally unaware of the dangers, hazards, and perils of the product. Defendants, and each of them,
 4
     owed a non-delegable duty and obligation for the integrity and safety of the product. Defendants,
 5
 6   and each of them, breached their duty and obligation.
 7
           48.    At the time the Subject Step Stool was produced, there were reasonable alternative
 8
     designs, manufacturing processes, labels, and warnings that would have eliminated the risk of
 9
10   injury. Alternatives were feasible and cost effective in terms of the product’s manufacturing,
11   longevity, assembly, maintenance, aesthetics, and range of consumer choice among products. The
12
     magnitude and probability of foreseeable risks of harm were far too great and serious for
13
14   Defendants to disregard the use of alternatives. Furthermore, the failure to use alternatives
15   violated consumer expectations about the advertising and public image that Defendant HARBOR
16
     FREIGHT portrays about its reputation for quality and safety.       The omission of alternative
17
18   designs, manufacturing processes, and warnings rendered the Subject Step Stool into a product

19   not reasonably safe.
20
           49.    As a direct and proximate result of the Defendants' unreasonably dangerous and
21
22   defective product containing at a minimum, design, manufacturing, and/or warning defects, the

23   Subject Step Stool did not perform as safely and did not provide reasonably adequate protection
24
     from injury as an ordinary consumer would expect when using said product in a reasonably
25
     foreseeable manner.
26
27         50.    The lack of safe design, manufacture, and warning of Subject Step Stool caused
28
     Plaintiff’s injuries because the product was defective and unreasonably dangerous when used in a


                                                   13
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 1
     reasonably foreseeable manner and because Defendants failed to warn, instruct, or protect against

 2   the dangers or hazards in the use of those instrumentalities and failed to provide proper
 3
     instructions and warnings for the use of those instrumentalities.
 4
             51.   On the date of the Subject Accident, the Subject Step Stool was being used in a
 5
 6   reasonably foreseeable manner as such products would be used. Furthermore, the Subject Step
 7
     Stool was in the substantially same condition at the time of the accident as it was at the time of
 8
     Defendants' manufacture, assembly, construction, testing, distribution, marketing, advertising, and
 9
10   sale.
11           52.   Defendants are strictly liable to Plaintiff for damages caused by the defective and
12
     unreasonably dangerous condition of the Subject Step Stool, which lacked safe and protective
13
14   designs, equipment, and devices, which was manufactured according to substandard practices,
15   which lacked safe and protective warnings, and which also failed to provide for reasonably safe
16
     usage under foreseeable conditions.
17
18           53.   As a direct and proximate result of the defective and unreasonably dangerous

19   product manufactured, distributed, and sold by Defendants, Plaintiff was seriously and
20
     permanently injured and he sustained compensatory damages, and will sustain future damages, all
21
22   as set forth below and incorporated herein.           Furthermore, all allegations for punitive and

23   exemplary damages are equally applicable to this claim, and incorporated herein.
24
                                                SECTION 4
25                                         Count Two – Negligence
                                              (All Defendants)
26
27           54.   Plaintiff re-alleges and incorporates by reference all prior and subsequent
28
     allegations as though fully set forth in this pleading.


                                                      14
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 1
           55.    Defendants, and each of them, were negligent in designing, configuring,

 2   engineering, fabricating, assembling, building, manufacturing, producing, labeling, testing,
 3
     marketing, promoting, advertising, importing, distributing, and selling the Subject Step Stool.
 4
     Further, Defendants were negligent in failing to provide a sound and safely designed product to
 5
 6   reasonably foreseeable users. Defendants knew, or in the exercise of reasonable care, should have
 7
     known that the Subject Step Stool, including the parts thereof, would not and could not effectively
 8
     protect and provide safe operation under foreseeable operating conditions and circumstances.
 9
10   Further, Defendants, and each of them, failed to warn users. As a direct and proximate cause of
11   the negligence of Defendants, and each of them, Plaintiff sustained injuries and damages
12
     described herein.
13
14         56.    The negligence of Defendants, and each of them, included but was not limited to the
15   following acts or omissions:
16
           (a)    Negligently failing to develop and incorporate a proper design in the construction,
17
18                assembly, and manufacture of the Subject Step Stool.

19         (b)    Negligently using improper materials which were inferior, unsafe, and unsuitable,
20
                  and which were mechanically, physically, and structurally defective.
21
22         (c)    Negligently failing to properly inspect and test the Subject Step Stool for defects.

23         (d)    Negligently failing to design, assemble, construct, and incorporate reasonably safe
24
                  and appropriate safety features, mechanisms, and devices to prevent injuries caused
25
                  by the propensity of the product to fail under normal usage.
26
27         (e)    Negligently failing to provide safe, reliable, and dependable features, mechanisms,
28
                  and devices to provide the protection from serious injury which an ordinary user


                                                    15
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 1
                  would reasonably expect.

 2         (f)    Negligently failing to produce a product which complied with national safety
 3
                  standards and industry custom and practices.
 4
           (g)    Negligently failing to retrofit and recall the Subject Step Stool, modify its design,
 5
 6                and failing to provide post-sale warnings and safety bulletins to product owners,
 7
                  distributors, sellers, and foreseeable users.
 8
           (h)    Negligently failing to properly label the Subject Step Stool for danger and failing to
 9
10                place adequate warnings on the product.
11         (i)    Negligently failing to produce a product free of slipshod workmanship, design, and
12
                  manufacturing processes.
13
14         (j)    Negligently failing to produce a product that was free of mismatch in materials and
15                parts that had the capacity and likelihood to cause serious injury.
16
           (k)    Negligently failing to produce a product that was of safe design and conformed to
17
18                the state-of-the-art.

19         (l)    Negligently failing to produce a step stool/work platform with safe and proper
20
                  assembly and rivet installation.
21
22         (m)    Negligently placing the Subject Step Stool in a defective and unreasonably

23                dangerous condition, into the stream of commerce.
24
           57.    As a direct and proximate result of the reckless, negligent, callous, and outrageous
25
     acts and omissions of Defendants, and each of them, Plaintiff was seriously and permanently
26
27   injured and he sustained compensatory damages, and will sustain future damages, all as set forth
28
     below and incorporated herein. Furthermore, all allegations for punitive and exemplary damages


                                                     16
         Case 4:22-cv-00565-SHR-MSA Document 1-3 Filed 12/19/22 Page 21 of 47




 1
     are equally applicable to this claim, and incorporated herein.

 2                                            SECTION 5
                                Count Three – Breach of Express Warranty
 3
                                            (All Defendants)
 4
            58.    Plaintiff re-alleges and incorporates by reference all previous and subsequent
 5
 6   allegations as though fully set forth herein.
 7
            59.    Defendants, and each of them, are and were at all relevant times herein a merchant
 8
     as defined by the Uniform Commercial Code (“UCC”).
 9
10          60.    Upon information and belief, Defendants warranted that the Subject Step Stool sold
11   to Plaintiff in 2020 to be free of defects in material and workmanship, and Defendants agreed to
12
     repair or replace any defective conditions or defective components during the warranty period.
13
14          61.    In addition, upon information and belief, Defendants, and each of them,
15   affirmatively represented and promised that the Subject Step Stool sold to Plaintiff in 2020 would
16
     be fully operational, safe, and reliable. Plaintiff is further informed and believes that these
17
18   warranties were also made in advertisements and by representatives of Defendants.                The

19   representations and promises were express warranties, and were part of the basis of the bargain
20
     between the parties.
21
22          62.    These express warranties were breached because the Subject Step Stool sold to

23   Plaintiff in 2020 was not free of defects and was not fully operational, safe, or reliable.
24
     Defendants sold the Subject Step Stool to Plaintiff in a defective and unreasonably dangerous
25
     condition, and failed to make repairs and implement reasonable safety recalls necessary to
26
27   eliminate the defects and make the product safe for its intended and reasonably foreseeable use
28
     and operation.


                                                     17
         Case 4:22-cv-00565-SHR-MSA Document 1-3 Filed 12/19/22 Page 22 of 47




 1
            63.    As a direct and proximate result of Defendants’ breaches of express warranty,

 2   Plaintiff was seriously and permanently injured and he sustained compensatory damages, and will
 3
     sustain future damages, all as set forth below and incorporated herein.            Furthermore, all
 4
     allegations for punitive and exemplary damages are equally applicable to this claim, and
 5
 6   incorporated herein.
 7
                                              SECTION 6
 8                              Count Four – Breach of Implied Warranty
                                            (All Defendants)
 9
10          64.    Plaintiff re-alleges and incorporates by reference all previous and subsequent
11   allegations as though fully set forth herein.
12
            65.    The implied warranties of merchantability arose from the sale of the Subject Step
13
14   Stool to Plaintiff in 2020, and were not properly excluded or modified.
15          66.    The Subject Step Stool sold to Plaintiffs in 2020 violated the implied warranties of
16
     merchantability and fitness for a particular purpose, because the product was not safe or fit for its
17
18   intended and reasonably foreseeable use and contained defects that caused the serious and

19   permanent injuries to Plaintiff.
20
            67.    Plaintiff was unaware of the defects in the Subject Step Stool and could not
21
22   reasonably have discovered them when he purchased the product.

23          68.    As a direct and proximate result of Defendants’ breaches of the implied warranties
24
     of merchantability and fitness for a particular purpose, Plaintiff was seriously and permanently
25
     injured and he sustained compensatory damages, and will sustain future damages, all as set forth
26
27   below and incorporated herein. Furthermore, all allegations for punitive and exemplary damages
28
     are equally applicable to this claim, and incorporated herein.


                                                     18
         Case 4:22-cv-00565-SHR-MSA Document 1-3 Filed 12/19/22 Page 23 of 47




 1                                               SECTION 7
                                      (Punitive & Exemplary Damages)
 2
            69.    Plaintiff re-alleges and incorporates by reference all prior and subsequent
 3
 4   allegations as though fully set forth in this pleading.
 5
            70.    Plaintiff alleges that Defendants’ acts were carried out with an “evil mind” in that
 6
     Defendants actually knew that their dangerously defective product and outrageous conduct created
 7
 8   a substantial risk of serious harm. Defendants’ egregious, willful, and outrageous conduct
 9
     constitutes serious and conscious disregard for the life and limb of Plaintiff in that Defendants
10
     knew of the probable consequences of their reckless acts and dangerously defective product.
11
12   Defendants knew that the subject product was cheaply made in China according to substandard
13   and slipshod manufacturing processes, lack of meaningful and reliable inspections, lack of
14
     meaningful and reliable testing, and utter lack of quality assurance controls.
15
16          71.    Additionally, Defendants acted to serve their own interests, having reason to know

17   and consciously disregarding a substantial risk that their outrageous conduct and dangerously
18
     defective product and slipshod manufacturing processes would cause significant harm. Further,
19
20   Defendants consciously pursued a course of conduct knowing that it created a substantial risk of

21   significant harm to others. Defendants’ tortious misconduct was clearly and convincingly
22
     outrageous, oppressive, and committed with “evil mind” such that these Defendants deserve to be
23
24
     punished in a substantial, meaningful way in order to deter these Defendants from committing

25   future misconduct, deter other companies from committing similar misconduct, to make an
26
     example out of these Defendants, and to send a message to these Defendants and the industry as a
27
     whole expressing society’s detestation and condemnation of such reprehensible misconduct.
28


                                                      19
         Case 4:22-cv-00565-SHR-MSA Document 1-3 Filed 12/19/22 Page 24 of 47




 1
     Accordingly, Plaintiff is entitled to and demands exemplary and punitive damages against

 2   Defendants, and each of them, in a sum that is reasonable and just in the premises.
 3
                                               SECTION 8
 4                                        (Compensatory Damages)
 5
            72.    Plaintiff re-alleges and incorporates by reference all prior and subsequent
 6
     allegations as though fully set forth in this pleading.
 7
 8          73.    As a direct and proximate result of the Subject Accident caused by the fault of
 9
     Defendants, and each of them, Plaintiff sustained serious and permanent injuries.           Plaintiff
10
     sustained serious, painful, lasting, disfiguring, permanent, and disabling injuries accompanied by
11
12   disfigurement and tremendous shock to his nervous system.            Plaintiff has suffered and will
13   continue to endure and experience tremendous physical and mental pain and suffering and loss of
14
     enjoyment of activities for an indefinite period of time in the future.
15
16          74.    As a further direct and proximate result of the Subject Accident caused by the fault

17   of Defendants, and each of them, Plaintiff has been required to make numerous and diverse
18
     expenditures for medical care and medical treatment and he will continue to incur expenses for
19
20   future medical care and medical treatment.

21          75.    As a further direct and proximate result of the Subject Accident caused by the fault
22
     of Defendants, and each of them, Plaintiff has sustained loss of income, property damage, and
23
24
     other economic losses. Plaintiff has also sustained loss of earnings and income, he will sustain

25   future loss of earnings and income, and his earning capacity is permanently impaired.
26
27
28


                                                      20
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 1                                               SECTION 9
                                              (Prayer for Relief)
 2
            76.    Plaintiff re-alleges and incorporates by reference all prior and subsequent
 3
 4   allegations as though fully set forth in this pleading.
 5
            WHEREFORE, Plaintiff prays for judgment against Defendants, and each of them, as
 6
     follows:
 7
 8                 A.     For a sum that is reasonable and just for Plaintiff’s past, present, and future
 9
                          pain, suffering, disfigurement, and loss of enjoyment of life’s activities.
10
                   B.     For general compensatory damages in a just and reasonable amount.
11
12                 C.     For the reasonable value of the special damages incurred to date and those to
13                        be incurred in the future for Plaintiff’s necessary medical attention and care.
14
                   D.     For the reasonable value of Plaintiff’s past, present, and future economic
15
16                        losses, loss of earnings and income, and property damage.

17                 E.     For a reasonable award of punitive and exemplary damages against
18
                          Defendants.
19
20                 F.     For Plaintiffs’ costs incurred herein.

21                 G.     For reasonable attorney’s fees on the Express and Implied Warranty claims.
22
                   H.     For such other and further relief as the Court and jury may deem just and
23
24
                          proper in the premises.

25
26
27
28


                                                      21
         Case 4:22-cv-00565-SHR-MSA Document 1-3 Filed 12/19/22 Page 26 of 47




 1
              DATED this 12th day of September, 2022.

 2
                                 BREWERWOOD, PLLC
 3
 4
                                 By    /s/ Dane L. Wood
 5
                                       John B. Brewer
 6                                     Dane L. Wood
                                       2398 E. Camelback Rd., Ste. 540
 7
                                       Phoenix, AZ 85016
 8                                     Attorneys for Plaintiff
 9   #53967
10
11
12
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Case 4:22-cv-00565-SHR-MSA Document 1-3 Filed 12/19/22 Page 27 of 47




              EXHIBIT D
Case 4:22-cv-00565-SHR-MSA Document 1-3 Filed 12/19/22 Page 28 of 47
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              EXHIBIT E
Case 4:22-cv-00565-SHR-MSA Document 1-3 Filed 12/19/22 Page 30 of 47
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                                         Case 4:22-cv-00565-SHR-MSA Document 1-3 Filed 12/19/22 Page 32 of 47


                                     Person/Attorney Filing: Dane L Wood
                                     Mailing Address: 2398 E. Camelback Rd. Suite 540
                                     City, State, Zip Code: Phoenix, AZ 85016
                                     Phone Number: (602)254-9813
                                     E-Mail Address: dane@brewerwood.com
                                     [ ] Representing Self, Without an Attorney
                                     (If Attorney) State Bar Number: 016098, Issuing State: AZ

                                                      IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                                                            IN AND FOR THE COUNTY OF PIMA

                                      Nicholas Laguna
                                      Plaintiff(s),                                          Case No. C20223728
                                      v.
                                      Harbor Freight Tools USA, Inc., et                     SUMMONS
                                      al.
                                                                                             HON. CASEY F MCGINLEY
                                      Defendant(s).
                                     To: Yuming International, Ltd.

                                      WARNING: THIS AN OFFICIAL DOCUMENT FROM THE COURT THAT
                                      AFFECTS YOUR RIGHTS. READ THIS SUMMONS CAREFULLY. IF YOU DO
                                      NOT UNDERSTAND IT, CONTACT AN ATTORNEY FOR LEGAL ADVICE.

                                      1. A lawsuit has been filed against you. A copy of the lawsuit and other court papers were
                                         served on you with this Summons.

                                      2. If you do not want a judgment taken against you without your input, you must file an
                                         Answer in writing with the Court, and you must pay the required filing fee. To file your
                                         Answer, take or send the papers to Clerk of the Superior Court, 110 West Congress
                                         Street, Tucson, Arizona 85701 or electronically file your Answer through one of Arizona's
                                         approved electronic filing systems at http://www.azcourts.gov/efilinginformation.
                                         Mail a copy of the Answer to the other party, the Plaintiff, at the address listed on the top
                                         of this Summons.
                                         Note: If you do not file electronically you will not have electronic access to the documents
                                         in this case.

                                      3. If this Summons and the other court papers were served on you within the State of
                                         Arizona, your Answer must be filed within TWENTY (20) CALENDAR DAYS from the
                                         date of service, not counting the day of service. If this Summons and the other court papers
AZturboCourt.gov Form Set #7189474




                                         were served on you outside the State of Arizona, your Answer must be filed within
                                         THIRTY (30) CALENDAR DAYS from the date of service, not counting the day of
                                         service.
                                        Case 4:22-cv-00565-SHR-MSA Document 1-3 Filed 12/19/22 Page 33 of 47




                                            Requests for reasonable accommodation for persons with disabilities must be made to
                                     the court by parties at least 3 working days in advance of a scheduled court proceeding.

                                            GIVEN under my hand and the Seal of the Superior Court of the State of Arizona in
                                     and for the County of PIMA


                                                           SIGNED AND SEALED This Date: 9/12/2022
                                                           Gary Harrison
                                                           Clerk of the Superior Court

                                                           By:   JAMES R. ORR /s/
                                                                    Deputy Clerk
AZturboCourt.gov Form Set #7189474




                                                                                         2
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                                             Case 4:22-cv-00565-SHR-MSA Document 1-3 Filed 12/19/22 Page 35 of 47
                                                                                                                 FILED
                                                                                                            Gary Harrison
                                                                                                        CLERK, SUPERIOR COURT
                                                                                                            9/12/2022 1:47:03 PM
                                                                                                         BY: JAMES R. ORR /S/
                                     In the Superior Court of the State of Arizona                              DEPUTY

                                     In and For the County of Pima                                     Case No. C20223728
                                                                                                        HON. CASEY F MCGINLEY



                                     Plaintiff's Attorneys:
                                     Dane L Wood - Primary Attorney
                                     Bar Number: 016098, issuing State: AZ
                                     Law Firm: BrewerWood, P.L.L.C.
                                     2398 E. Camelback Rd. Suite 540
                                     Phoenix, AZ 85016
                                     Telephone Number: (602)254-9813
                                     Email address: dane@brewerwood.com

                                     John B Brewer
                                     Bar Number: 018207, issuing State: AZ
                                     Law Firm: BrewerWood, P.L.L.C.
                                     Telephone Number: (602)254-9813

                                     Plaintiff:
                                     Nicholas Laguna

                                     Defendants:
                                     Harbor Freight Tools USA, Inc.
                                     26541 Agoura Rd
                                     Calabasas, CA 91302

                                     Yuming International, Ltd.
AZTurboCourt.gov Form Set #7189474




                                     4F, Noble Center, No. 1006 3rd Fuzhong Road, Futian Distr
                                     Shenzen, Guangdong, CHINA

                                     Discovery Tier t3

                                     Case Category: Tort Non-Motor Vehicle
                                     Case Subcategory: Negligence




                                                                             Civil Cover Sheet
                                                                                Page 1 of 1
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         Case 4:22-cv-00565-SHR-MSA Document 1-3 Filed 12/19/22 Page 37 of 47
                                                                                         FILED
                                                                                    Gary Harrison
                                                                                CLERK, SUPERIOR COURT
                                                                                   11/29/2022 11:45:29 AM
                                                                                 BY: ALAN WALKER /S/
 1   BREWERWOOD, P.L.L.C.                                                               DEPUTY
     2398 East Camelback Road, Suite 540                                       Case No. C20223728
 2   Phoenix, Arizona 85016                                                     HON. CASEY F MCGINLEY
     (602) 254-9813; Fax: (602) 254-5511 Facsimile
 3
     John B. Brewer, #018207, John@brewerwood.com
 4   Dane L. Wood, #016098, Dane@brewerwood.com
     Attorneys for Plaintiff
 5
 6                  IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
 7
                                   IN AND FOR THE COUNTY OF PIMA
 8
      NICHOLAS LAGUNA, an unmarried man,
 9
                                                         Case No.: C20223728
10                       Plaintiff,
                                                         PLAINTIFF’S EX PARTE MOTION FOR
11                            v.                         ORDER ENLARGING TIME WITHIN
12                                                       WHICH TO SECURE SERVICE OF
      HARBOR FREIGHT TOOLS USA, INC., a                  PROCESS UPON FOREIGN
13    Delaware corporation; YUMING                       DEFENDANT
14    INTERNATIONAL, LTD., a Chinese
      corporation; DOES I through X; ABC                 (Assigned to The Honorable Casey F.
15    PARTNERSHIPS I through X, and; BLACK               McGinley)
16    CORPORATIONS I through X,

17                       Defendants.
18
            Plaintiff, by and through undersigned counsel, in accordance with Rules 4.2(i), 4.2(k), and
19
20   6(b), Ariz.R.Civ.P., hereby respectfully requests an Order granting the enlargement of time within

21   which to secure service of process upon foreign Defendant (located in China) under the provisions
22
     of the Hague Convention on the Service Abroad of Judicial and Extrajudicial Documents
23
24   (hereinafter “Hague Service Convention”) and/or other alternative means that are reasonably

25   calculated to place the foreign Defendant on notice of the lawsuit.
26
            Plaintiff is seeking the enlargement of time to serve the following foreign Defendant only:
27
     YUMING INTERNATIONAL, LTD.
28


                                                     1
           Case 4:22-cv-00565-SHR-MSA Document 1-3 Filed 12/19/22 Page 38 of 47




 1
             This motion does not apply to any other Defendant.

 2           While the Arizona Rules of Civil Procedure do not prescribe a time limit or deadline for
 3
     serving a foreign Defendant, Plaintiff nevertheless seeks this Order out of an abundance of caution
 4
     to anticipatively avoid any confusion in the record and/or the inadvertent dismissal of the above-
 5
 6   identified foreign Defendant.
 7
             This Motion is supported by the following Memorandum of Points and Authorities.
 8
                          MEMORANDUM OF POINTS AND AUTHORITIES
 9
10   I.      RELEVANT FACTS FOR THIS MOTION
11           This is a personal injury action. Plaintiff has claims sounding in strict product liability and
12
     negligence. Plaintiff sustained serious head/concussive injuries on September 14, 2020 when a
13
14   step stool unexpectedly broke and collapsed due to a failed rivet that caused a leg support brace to
15   detach. It is alleged that Defendant YUMING INTERNATIONAL, LTD. manufactured the step
16
     stool for and on behalf of Defendant HARBOR FREIGHT TOOLS USA, INC. to then sell to
17
18   consumers in the United States. Defendant YUMING INTERNATIONAL, LTD. is located in

19   Shenzhen, China. This lawsuit was filed on September 12, 2022.
20
     II.     LEGAL ANALYSIS
21
22           Under the Arizona Rules of Civil Procedure, there is no time limit or deadline to serve a

23   foreign Defendant. The conventional time to serve a domestic corporation or individual is 90
24
     days, as set forth in Rule 4(i), Ariz.R.Civ.P. However, Rule 4(i) expressly provides that the 90-
25
     day deadline does not apply to foreign Defendants:
26
27                  This Rule 4(i) does not apply to service in a foreign country pursuant
                    to Rule 4.2(i), (j), (k) and (l).
28


                                                       2
         Case 4:22-cv-00565-SHR-MSA Document 1-3 Filed 12/19/22 Page 39 of 47




 1
     Rule 4(i), Ariz.R.Civ.P.

 2          The applicable rules for serving a foreign corporation are Rules 4.2(k) and 4.2(i),
 3
     Ariz.R.Civ.P. Neither rule sets a deadline for serving a foreign Defendant.
 4
            Being that there is no deadline to serve a foreign Defendant, Plaintiff in this present action
 5
 6   is not subject to a deadline to serve the above-identified foreign Defendant. However, Plaintiff
 7
     prefers to move forward quickly with this present lawsuit and keep the Court informed.
 8
     Accordingly, this present Motion (while technically unnecessary) is being filed out of an
 9
10   abundance of caution to anticipatively avoid any confusion in the record and to anticipatively
11   avoid the inadvertent “administrative” or “involuntary” dismissal of the foreign Defendant by the
12
     Court, the Clerk of the Court, or the Court Administration.
13
14          With these principles in mind, Plaintiff intends on making the necessary arrangements, if
15   necessary 1 to proceed in serving the foreign Defendant under the provisions of the Hague Service
16
     Convention. As the Court knows, service under the Hague Service Convention is very expensive
17
18   and time-consuming. The Complaint must be translated into the Chinese language. Moreover,

19   accompanying documents such as the Summons, Rule 102a Fastar Certificate, etc. must also be
20
     translated into Chinese. Thereafter, a process serving company that specializes in foreign service
21
22   must make the necessary arrangements to have the foreign Defendant served in China. Plaintiff

23   reasonably anticipates that this process will take at least nine (9) months (270 days), if not longer,
24
     to complete.
25
26
27
28   1Plaintiff’s counsel will also seek acceptance and waiver of service from counsel for Defendant
     Harbor Freight if there is joint representation.

                                                      3
         Case 4:22-cv-00565-SHR-MSA Document 1-3 Filed 12/19/22 Page 40 of 47




 1
              Given the foregoing circumstances, Plaintiff respectfully submits that good cause exists for

 2   an Order granting Plaintiff a period of two-hundred seventy (270) days from the date of the Order
 3
     to complete service of the foreign Defendant. A proposed form of Order is lodged herewith.
 4
              WHEREFORE, Plaintiff respectfully requests an Order granting Plaintiff a period of two-
 5
 6   hundred seventy (270) days from the date of the Order to complete service upon Defendant
 7
     YUMING INTERNATIONAL, LTD.
 8
              DATED this 29th day of November, 2022.
 9
10
                                  BREWERWOOD, PLLC
11
12
                                  By     /s/ Dane L. Wood
13                                       John B. Brewer
14                                       Dane L. Wood
                                         2398 E. Camelback Rd., Ste. 540
15                                       Phoenix, AZ 85016
16                                       Attorneys for Plaintiff

17   ORIGINAL filed and copy electronically
18   delivered* this same date to:

19   The Honorable Casey F. McGinley*
20   Pima County Superior Court
     110 W. Congress St.
21   Tucson, AZ 85701
22
     /s/ Marci L. Turner
23
24   #54075

25
26
27
28


                                                       4
         Case 4:22-cv-00565-SHR-MSA Document 1-3 Filed 12/19/22 Page 41 of 47

                                                                                     FILED
                                                                             GARY L. HARRISON
                                                                           CLERK, SUPERIOR COURT
 1    BREWERWOOD, PLLC                                                       11/29/2022 4:22:54 PM
     2398 East Camelback Road, Suite 540                                       CASE C20223728
 2   Phoenix, Arizona 85016
     (602) 254-9813; Fax: (602) 254-5511 Facsimile
 3
     John B. Brewer, #018207, John@brewerwood.com
 4   Dane L. Wood, #016098, Dane@brewerwood.com
     Attorneys for Plaintiff
 5
                    IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
 6
                                    IN AND FOR THE COUNTY OF PIMA
 7
 8    NICHOLAS LAGUNA, an unmarried man,
                                                          Case No.: C20223728
 9                        Plaintiff,
10                                                        ORDER GRANTING PLAINTIFF’S EX
                               v.                         PARTE MOTION FOR ORDER
11                                                        ENLARGING TIME WITHIN WHICH
12    HARBOR FREIGHT TOOLS USA, INC., a                   TO SECURE SERVICE OF PROCESS
      Delaware corporation; YUMING                        UPON FOREIGN DEFENDANT
13    INTERNATIONAL, LTD., a Chinese
14    corporation; DOES I through X; ABC                  (AS MODIFIED BY THE COURT)
      PARTNERSHIPS I through X, and; BLACK
15    CORPORATIONS I through X,                           (Assigned to The Honorable Casey F.
16                                                        McGinley)
                          Defendants.
17
18            The Court having considered Plaintiff’s Ex Parte Motion for Order Enlarging Time Within

19   Which to Secure Service of Process Upon Foreign Defendant and good cause appearing,

20            IT IS HEREBY ORDERED that Plaintiff shall have a period of two-hundred seventy (270

21   days from the date of this Order filing of the Complaint to complete service upon foreign

22   Defendant YUMING INTERNATIONAL, LTD.

23                                       DATED this 29th day of November, 2022.

24
25
                                          (ID: 751758d6-c7b9-46a5-b5bb-f4c974b35409)
26
27
                       COURT NOTICE; THE ORIGINAL FILER MUST SERVE A COPY OF THIS ORDER
28                              ON ALL PARTIES HAVING APPEARED IN THIS CASE.
     #54076


                                                      1
Case 4:22-cv-00565-SHR-MSA Document 1-3 Filed 12/19/22 Page 42 of 47




              EXHIBIT F
     Case 4:22-cv-00565-SHR-MSA Document 1-3 Filed 12/19/22 Page 43 of 47




 1 Rusing Lopez & Lizardi, P.L.L.C.
   6363 North Swan Road, Suite 151
 2 Tucson, Arizona 85718
   Telephone: (520) 792-4800
 3 Facsimile: (520) 529-4262
   pwaterkotte@rllaz.com
 4 avalentine@rllaz.com
 5 Patricia V. Waterkotte
   State Bar No. 029231
 6 Alexander P. Valentine
   State Bar No. 034902
 7 Attorneys for Defendant Harbor Freight Tools USA, Inc.
 8                      IN THE UNITED STATES DISTRICT COURT
 9                            FOR THE DISTRICT OF ARIZONA
10
     NICHOLAS LAGUNA, an unmarried                 NO.
11   man,
                                                   DEFENDANT HARBOR FREIGHT
12                               Plaintiff,        TOOLS USA, INC.’S VERIFICATION
                                                   OF REMOVAL FILINGS
13   vs.
                                                   (Assigned to )
14   HARBOR FREIGHT TOOLS USA,
     INC., a Delaware corporation;
15   YUMING INTERNATIONAL, LTD., a
     Chinese corporation; DOES I through
16   X; ABC PARTNERSHIPS I through X,
     and; BLACK CORPORATIONS I
17   through X,
18                               Defendants.
19
20         Pursuant to Local Rule 3.6, undersigned counsel for Defendant Harbor Freight Tools

21 USA, Inc. (“Harbor Freight”) verifies that true and complete copies of all pleadings and other
22 documents filed in the state court action, Pima County Superior Court, No. C20223728, were
23 filed as Exhibits C, D and E to Harbor Freight’s Notice of Removal.
                                        Case 4:22-cv-00565-SHR-MSA Document 1-3 Filed 12/19/22 Page 44 of 47




                                    1         DATED this 19th day of December, 2022.
                                    2                                           RUSING LOPEZ & LIZARDI, P.L.L.C.

                                    3
                                                                                /s/ Patricia V. Waterkotte
                                    4                                                Patricia V. Waterkotte
                                                                                     Alexander P. Valentine
                                    5                                                Attorneys for Defendant

                                    6
                                    7
                                                                    CERTIFICATE OF SERVICE
                                    8
                                             I hereby certify that a copy of the foregoing was served this 19th day of December,
                                    9 2022 via Notice of Electronic Filing, generated and transmitted by the ECF system of the
                                   10 District of Arizona, to the following CM/ECF registrants:
Rusing Lopez & Lizardi, P.L.L.C.
 6363 North Swan Road, Suite 151

    Telephone: (520) 792-4800
     Tucson, Arizona 85718




                                   11 BREWERWOOD, P.L.L.C.
                                   12 John B. Brewer
                                      Dane L. Wood
                                   13 2398 East Camelback Road, suite 540
                                      Phoenix, AZ 85016
                                   14 John@brewerwood.com
                                   15 Dane@brewerwood.com
                                      Attorneys for Plaintiff
                                   16
                                      By: /s/ Joan Harris
                                   17
                                   18
                                   19
                                   20
                                   21
                                   22
                                   23
                                   24
                                   25

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             EXHIBIT G
     Case 4:22-cv-00565-SHR-MSA Document 1-3 Filed 12/19/22 Page 46 of 47




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 7
   Attorneys for Defendant Harbor Freight Tools USA, Inc.
 8
                IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
 9
                          IN AND FOR THE COUNTY OF PIMA
10
11   Nicholas Laguna, an unmarried man,          No. C20223728
12                              Plaintiff,       NOTICE OF REMOVAL
13   vs.
14   Harbor Freight Tools USA, Inc., a
     Delaware corporation; Yuming
15   International, Ltd., a Chinese
     corporation; Does I through X; ABC
16   PARTNERSHIPS I through X, and;
     BLACK CORPORATIONS I through
17   X,
18                              Defendants.
19
20         Defendant Harbor Freight Tools USA, Inc. (“Harbor Freight”) hereby provides notice
21 that it has removed this action from this Court to the United States District Court for the
22 District of Arizona, Tucson Division, pursuant to 28 U.S.C. §§ 1332, 1441, 1446.
23
                                        Case 4:22-cv-00565-SHR-MSA Document 1-3 Filed 12/19/22 Page 47 of 47




                                    1         A copy of the Notice of Removal filed in the United States District Court for the
                                    2 District of Arizona (without exhibits) is attached hereto as Exhibit A. Upon filing the
                                    3 attached Notice of Removal in the District Court, in accordance with 28 U.S.C. § 1446(d),
                                    4 the removal is effective and this Court shall proceed no further unless and until this case is
                                    5 remanded by order of the United States District Court.
                                    6
                                              WHEREFORE, Defendant Harbor Freight removes this action to District Court.
                                    7
                                    8
                                    9         DATED this date 19th of December, 2022
                                                                                 RUSING LOPEZ & LIZARDI, P.L.L.C.
Rusing Lopez & Lizardi, P.L.L.C.




                                   10
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                                   11                                            /s/ Patricia V. Waterkotte
                                                                                      Patricia V. Waterkotte
                                   12                                                 Alexander P. Valentine
                                   13                                                 Attorneys for Defendant

                                   14
                                      The foregoing was e-filed this 19th day
                                   15 Of December, 2022 and a copy served
                                      via AZTurboCourt this same date to:
                                   16
                                      BREWERWOOD, P.L.L.C.
                                   17 John B. Brewer
                                      Dane L. Wood
                                   18 2398 East Camelback Road, suite 540
                                   19 Phoenix, AZ 85016
                                      Attorneys for Plaintiff
                                   20
                                      By: /s/ Joan Harris
                                   21
                                   22
                                   23
                                   24
                                   25

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